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UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF MISSISSIPPI

SOUTHERN DIVISION

KASEY D. ALVES,
Plaintiff,

Vs. CAUSE NO.: 1:06cv912 LG-JMR

HARRISON COUNTY MISSISSIPPI, BY AND
THROUGH THE BOARD OF SUPERVISORS;
HARRISON COUNTY SHERIFF'S DEPARTMENT;
SHERIFF GEORGE PAYNE, JR.; AND,
HBALTH ASSURANCE, LLC.,

Defendants.

DEPOSITION
OF
ROBERT N. ELEUTERIUS
Taken on behalf of the Plaintiff
9:37 a.m., Wednesday, March 12th, 2008
before

Lisa H. Brown, CSR #1166

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1 ROBERT N. HLEUTERIUS,
2 having been produced and first duly sworn, was examined
3 and testified as follows:
4 - =. =
5 EXAMINATION
6 BY MR. PRINGLE:
7 Q. Please state your name.
8 A. Robert N. Eleuterius.
9 Q. Mr. Eleuterius, at one time you were a member
10 of the Harrison County Board of Supervisors?
11 A. That's correct.
12 Q. For what period of time were you a member of
13 the Board?
14 A. Twenty-four years.
15 Q. Can you give me what years you served?
16 A. From '84 to 2007.
17 Q.. And in 2007, you decided not to seek
18 reelection; is that correct?
19 A. Well, actually in January of 2- -- yes.
20 Q. You didn't run, again?
al A. i didn't run again.
22 Q. All right. I'm not going to cover the whole
23 twenty-four years that you served, but I want to talk
24 about maybe from the calendar years 2090 to 2006.
25 What was the Board of Supervisors! role in

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the management of the Harrison County Adult Detention
Facility during that time period?

A. To come up with the finances and to operate
-- the operation and maintenance of the jail,
budget-wise.

Q. Any other role?

A. No, just simply take requests from the
sheriff and try to fund as much of that request as we
possibly could.

Q. Who was responsible for the day-to-day
management and operation of the jail?

A. The sheriff.

QO. And from the calendar year of 2000 to 2006,
the sheriff would have been George Payne?

A. That's correct.

Q. All right. Are you familiar with -- I want
to show you Exhibit 1. I'll just put a number on it,
and we'll mark it later. Exhibit 1 is a Consent
Judgment that was entered by the United States District
Court back on, I think, January 12, 1995. Have you
seen this document before?

A. Yes, I. have.

9. I just want to go over a few provisions of
the judgment with you and be sure that you're familiar

with them.

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Q. Did the Board ever request it, to your
knowledge?

A. Not to my knowledge.

QO. So the discipline of deputies and any

misconduct by deputies was left solely to the sheriff?

A. That's correct.

Q. And the Board didn't monitor that in any way?
A. Not to my knowledge.

QO. Are you aware there was a procedure for

inmates to file grievances at the jail concerning any
complaints they had?

A. Yes, I was aware of that. In fact, over the
years, we even had to set up a library out there with
computers to teach them how to sue us.

Q. Was there any monitoring by the Board of the

grievances that were filed by the inmates?

A. I'm sorry. Would you repeat that?

Q. Did the Board in any way monitor the
grievances that were filed by the inmates, get copies
of the grievances that were filed, or do anything to
determine what those grievances were?

A. I'm sure we did through our attorneys, that
we were probably told, but I'm not certain of that.

QO. Who would make the determination when the

Board would be told about an inmate grievance? Would

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A. OKay.

Q. Second paragraph, it says, "Detention staff
does not uniformly receive pre-service training and
annual in-service programs are not regularly
provided."

Were you informed of that information set
forth in this report?

A. Yes.

Q. Do you know if there was anything the Board

did in response to that finding?

A. Other than possibly, you know, give
additional staffing, and then that -- as I told you
what I was looking for earlier, where we approved some
fifty deputies to be trained. And that might have been
when -~- the timing. I just don't recall the dates and
times of all of this.

QO. And then, the next sentence says, "The
majority of training is currently on-the-job." Were

you informed of that finding?

A. Yes.

Q. And then, going down to the last paragraph
on page two, the first sentence says, "The morale of
the staff is extremely low." Were you informed of

that finding?

A. For twenty-four years, it's been real low out

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Q. Page -- I'm sorry. Go ahead.

A. One of the issues on that is I'm the only
supervisor that was here when we actually built the
jail.

Q. Right.

A. And we were sold that jail that we needed
one deputy to run an entire pod, and that's how we
managed to get this jail built, and we were drilled
into that. But the minute we opened it up, we knew
that we were understaffed, because the sheriff sold
the project at the time that one person could take

care of a whole pod and that's just impossible.

Q. Going to page three, the middle of the first

paragraph at the top, six sentences down, it says,
"Dr. Cabana stated that there were approximately 57
staff vacancies." Were you aware --

A. Yes.

QO. -- that that many vacancies existed at the
time of this report?

A. Well, we -- actually, we never could find
out over the past six or seven years how many
vacancies was there, because one day there would be
twenty, the next day there would be thirty, and then
they would fill some and then they would lose some.

know it's been a good number. I did not remember --

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1 paragraph.

2 A. Uh-huh (indicating yes.)

3 Q. Were you made aware of that finding?

4 A. Yes.

5 Q. Did you believe that that problem existed at
6 the jail?

7 A. Yes, I did.

8 Q. Did you believe that that problem existed at
9 the jail for a number of years?
10 A. Yes.
11 Q. I'm going to skip “crowded conditions." But
12 the next one says, "failure to follow established
13 policies and procedures." Were you aware of that

14 finding?

15 A. I don't recall it, but I'm sure it was in
16 there.

17 Q. As a member of the Board, would you have

18 agreed that that existed at the Harrison County jail?

19 A. Yes.

20 Q. Would you agree that that existed for a

21 number of years?

22 A. Yes.

23 Q. And going to page four, at the very top, it
24 says, "Significant and immediate steps must be taken to
25 improve the overall professionalism of the jail,

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him.

Q. Have you ever met Mr. Steve Martin?

A. No, sir.

Q. All right. Go to page seven. Second
paragraph, number one, Staff Use of Force. Do you see
that in the middle of the page?

A. I have Security Administration on page seven.

Q. Yeah, right below that.

A. Okay. I'm sorry. Yeah, I see it.

Q. Okay. And then it says, "In the six

previous reports filed since 1997 there was a single
instance in which I reported on a misapplication of
force, chemical agents or restraints."

Do you see that?

A. Yes.

QO. And then, the next sentence says, "As
aforementioned, there were thirty-one incidents of
force in December 2004, which represents a serious
increase in the use of force at HCDC."

Do you see that one?

A. Yes, I do.

QO. Do you remember reading this report and
seeing -- or being informed of this finding in this
report?

A. I do remember being informed about it, yes.

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